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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION


       ALEKSEJ GUBAREV,
       XBT HOLDING S.A., and
       WEBZILLA, INC.                                                       Case No.
         Plaintiffs,
                                                                        0:17-cv-60426-UU
       v.

       BUZZFEED, INC. and                                  PUBLIC REDACTED VERSION
       BEN SMITH
         Defendants.


                          STATEMENT OF MATERIAL FACTS
             IN SUPPORT OF PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
               ON DEFENDANTS’ “PUBLIC FIGURE” AFFIRMATIVE DEFENSE

             Pursuant to Local Rule 56.1(a), Plaintiffs submit this statement of material facts to which
   Plaintiffs contend there do not exist a genuine issue to be tried.


             1.     Aleksej Gubarev was born in Russia. Mr. Gubarev, when he was a University
   student in Russia, dropped out of school to support his then-pregnant girlfriend (now his wife).
   See Declaration of Aleksej Gubarev in Support of Plaintiffs’ Motion for Summary Judgment on
   Defendants’ “Public Figure” Affirmative Defense [“Gubarev Decl.”], filed herewith, ¶ 2.
             2.     In 2001, Mr. Gubarev’s family were the victims of a violent home invasion in
   which his parents and grandmother were beaten and robbed. Soon thereafter, in 2002, because
   they no longer felt safe in Russia and because they had difficulty affording an apartment in
   Russia, Mr. Gubarev and his girlfriend moved from Russia to Cyprus. Transcript of the
   Deposition of Aleksej Gubarev dated April 30, 2018 [“Gubarev Depo. I”], attached as Exhibit 12
   to the Declaration of Matthew Shayefar1 [“Shayefar Decl.”] filed herewith, 20:21-21:11;
   Transcript of the Deposition of Anna Gubareva [“Gubareva Depo.”], Exhibit 13, 8:2-21;
   Gubarev Decl., ¶ 3.



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       All Exhibits hereto are exhibits to the Declaration of Matthew Shayefar filed herewith.
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           3.     In 2005, Mr. Gubarev used his personal savings to start a small server company
   called Webazilla (later renamed Webzilla). Gubarev Depo. I, Exhibit 12, 36:1-37:23; Gubarev
   Decl., ¶ 4.
           4.     Over the next 10+ years, through Mr. Gubarev’s hard work, entrepreneurial skills
   and popular product offerings, Mr. Gubarev and his team grew Webzilla and started other
   computer hosting companies, including Servers.com, all of which currently operate under the
   umbrella company XBT Holding S.A. Gubarev Decl., ¶ 4.
           5.     Mr. Gubarev does not consider himself to be an expert on computer security, but
   instead asks other people to give him advice before he tells anyone else anything relating to
   computer security. Gubarev Depo. I, Exhibit 12, 110:16-111:9.
           6.     Mr. Gubarev also does not consider himself to be a public person and he does not
   seek public attention. Gubarev Depo. I, Exhibit 12, 241:23-242:4.
           7.     Mr. Gubarev is not a politician of any country or locality. He is not a public
   official of any country or locality. He does not hold any governmental office. Mr. Gubarev is a
   private individual and has not assumed an influential role in society. Mr. Gubarev does not want
   to be a public individual. Mr. Gubarev devotes substantially all of his time to his family and his
   work. Mr. Gubarev does not believe that, prior to Buzzfeed’s publication of the Dossier, that,
   outside of a small circle of tech executives, he was known at all. Plaintiff Aleksej Gubarev’s
   Objections and Responses to Defendants’ First Set of Interrogatories [“Gubarev Ints.”], Exhibit
   14, pp. 3-4; Gubarev Decl., ¶ 5.
           8.     Mr. Gubarev has never been involved in, nor publicly commented on, any
   political matters, be they Russian politics, Cypriot politics or United States politics. Gubarev
   Decl., ¶ 8.
           9.     In September of 2015, for the first time, an XBT company, Servers.com, decided
   that it would experiment with hiring an outside public relations firm in an attempt to gain some
   publicity and recognition for its server products. Transcript of Deposition of Nikolay Dvas
   [“Dvas Depo.”], Exhibit 15, 48:22-49:2, and Exhibit 3 thereto attached as Exhibit 16.
   Specifically, XBT’s subsidiary Servers.com contacted the company Cutler PR for the purpose of
   promoting the brand of Servers.com. Dvas Depo., Exhibit 15, 45:21-48:5.
           10.    Servers.com did not put significant effort into selecting a public relations firm,
   and just selected the only company it considered. Dvas Depo., Exhibit 15, 59:2-15. Servers.com

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   paid no more than $7,500 per month to Cutler PR. Dvas Depo., Exhibit 15, 55:22-56:12.
   Servers.com engaged Cutler PR on or about October 22, 2015. See Exhibit 17.
          11.     Prior to engaging Cutler PR, XBT had no one handling public relations at all.
   Dvas Depo., Exhibit 15, 60:24-61:10.
          12.     Any promotion of XBT’s executives themselves was solely for the purpose of
   creating brand recognition for Servers.com as a hosting provider, as suggested by Cutler PR.
   Dvas Depo., Exhibit 15, 51:4-52:15. Servers.com left it up to Cutler PR to decide what media
   they would target for Servers.com. Dvas Depo., Exhibit 15, 54:6-9. Servers.com’s interest was
   solely to promote its brand in markets where they thought it would result in sales. Dvas Dep.,
   Exhibit 15, 82:19-83:15.
          13.     Servers.com’s Chief Operating Officer that was leading the PR effort did not even
   have a picture of him taken for the PR efforts, but instead used a picture of himself from a family
   photo shoot. Dvas Depo., Exhibit 15, 89:2-14.
          14.     Cutler PR’s stated purpose for making any reference to Servers.com’s senior
   executives was simply a tactic to create visibility for Servers.com. See Exhibit 7 to Dvas Depo.,
   attached as Exhibit 18.
          15.     Over the next few months, Cutler PR was only able to get very limited exposure
   for Servers.com, including publications in Network World, missioncriticalmagazine.com, and
   “Cloud Strategy” (“an extremely unpopular website”); mentions in a Forbes and a Inc.com list;
   and an opinion commentary written by Servers.com’s at then-time Chief Operating Officer
   Nikolay Dvas published on CNBC.com. Dvas Depo., Exhibit 15, 70:6-17, 74:4-75:10, 91:2-
   94:19, 97:7-18. Cutler PR was never able to get Servers.com referenced in the high-level
   technology media that Servers.com had hoped might write about the company, like VentureBeat
   or TechCrunch. Dvas Depo., Exhibit 15, 68:10-69:1.
          16.     By March of 2016, Servers.com obtained so little from Cutler PR’s work that it
   suspended its services. Dvas Depo., Exhibit 15, 69:11-18, 70:11-17, 94:23-95:25, and Exhibit 25
   thereto attached as Exhibit 19; Gubarev Depo. I, Exhibit 12, 256:19-257:2.
          17.     Nonetheless, because Servers.com was still interested in growing revenue,
   Servers.com began to reach out to other PR firms and eventually hired the PR firm KGlobal.
   Dvas Depo., Exhibit 15, 121:5-122:18. KGlobal was engaged by Servers.com in or about July of
   2016. See Exhibit 38 to Dvas Depo., attached as Exhibit 20. Servers.com paid KGlobal a

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   monthly fee of $25,000 per month plus additional expenses for press release expenses. Dvas
   Dep., Exhibit 15, 142:9-23, 148:14-21. KGlobal was hired for the sole purpose of promoting
   Servers.com to increase its sales. Gubarev Depo. I, Exhibit 12, 243:13-15, 244:12-15, 245:6-21.
          18.     Servers.com did not take active steps regarding KGlobal’s public relations efforts
   but instead deferred to KGlobal’s advice on the most effective public relations strategy. Dvas
   Dep., Exhibit 15, 156:9-157:12; 168:15-25.
          19.     As part of its efforts to promote the Servers.com brand, KGlobal pitched Mr.
   Gubarev as its executive who would be a good resource for “stories about the Russian tech,
   startup and business scene ... and general startup/business/entrepreneur tips and advice” to
   publications. See Exhibit 22 (email from KGlobal, which, along with other documents from
   KGlobal, attested to by KGlobal pursuant to Exhibit 21). In other emails, KGlobal did nothing
   more than refer to Mr. Gubarev as the CEO. See Exhibit 23 (“I want to offer up further
   information from the CEO, Aleksey Gubarev, about servers.com, their capabilities and what they
   have upcoming in the future.”). Many dozens of emails to publications were sent out, with
   slightly differing language between them. So as not to overload the Court with every single
   email, only a representative sampling of those emails is attached as Exhibit 24. Mr. Gubarev had
   never even seen the emails touting him as such until April of 2018 during a deposition. Gubarev
   Depo. I, Exhibit 12, 243:16-18.
          20.     These efforts were largely unsuccessful. Mr. Gubarev was only interviewed for a
   handful of media publications, almost all of them minor. KGlobal organized an interview for a
   podcast called “AppMasters.” See Exhibit 25. KGlobal organized other interviews, with Forbes
   and the Wall Street Journal, but Mr. Gubarev appears to have never made it into the publications.
   Exhibit 57 to Dvas Depo., attached as Exhibit 26; Shayefar Decl., ¶¶ 8-9.
          21.     KGlobal also coordinated a series of press releases, almost all of which do not
   appear to have been picked up by any new organizations. Dvas Depo., Exhibit 15, 148:19-149:3,
   171:9-173:8. Servers.com found that the press releases were on the whole ineffective. Dvas
   Depo., Exhibit 15, 178:7-179:18. Only one press release – related to the phone app Prisma,
   which was hosted by Servers.com – picked up any form of significant coverage. Exhibit 59 to
   Dvas Depo., attached as Exhibit 27.
          22.     Indeed, KGlobal’s efforts were so unsuccessful in driving attention to the
   company that, on December 15, 2016, Servers.com terminated KGlobal’s services, after only

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   three months. Gubarev Depo. I, Exhibit 12, 247:25-248:22; Dvas Depo., Exhibit 15, 181:11-
   183:25; Exhibit 60 to Dvas Depo., attached as Exhibit 28




                                    .
          23.     Over the years, Mr. Gubarev and his companies have been referenced in a handful
   of other publications, almost all of which have been in direct connection with marketing of
   businesses or local matters in Cyprus. See Gubarev Depo. I, Exhibit 12, 284:6-287:18, Exhibit
   PR16 thereto attached as Exhibit 29, Exhibit PR21 thereto attached as Exhibit 30, Exhibit PR24
   thereto attached as Exhibit 31, Exhibit PR31 thereto attached as Exhibit 32, Exhibit PR38 thereto
   attached as Exhibit 33, Exhibit PR83 thereto attached as Exhibit 34, and Exhibit PR39 thereto
   attached as Exhibit 35; Plaintiff Aleksej Gubarev’s Third Supplemental Responses to
   Defendants’ First Set of Interrogatories, Exhibit 36, pp. 1-2.
          24.     Mr. Gubarev and the XBT companies’ public appearances and sponsorships of
   events were also limited to technology conferences for the purposes of promoting the XBT
   companies. See, e.g., Gubarev Depo. I, Exhibit 12, 255:12-15 (Mr. Gubarev spoke at a small
   technical event with maybe 40 people in the audience); Gubarev Decl., ¶ 6 (“I have only spoken
   publicly at a handful of small industry conference, primarily to groups of fewer than 50
   people.”); Dvas Depo., Exhibit 15, 124:2-127:6 (Servers.ru was a sponsor of a conference in
   Russia).
          25.     XBT companies occasionally over the years won minor awards and recognitions
   as hosting providers. See, e.g., Transcript of the Deposition of Kostyantyn Bezruchenko
   [“Bezruchenko Depo.”], Exhibit 37 hereto, 17:16-20:7
                                        ; Exhibit 38 hereto (printouts from HostReview.com); Exhibit
   39 hereto (news release relating to HostReview).
          26.




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          27.     Outside of the press releases issued by Cutler or KGlobal, XBT companies had
   over the years also issued occasional press releases, but they were all related to the growth of the
   businesses. A representative sampling of these press releases is attached as Exhibit 40 hereto.
   These releases would get very few views. See, e.g., Exhibit 41 (reporting showing a total of 175
   views for a press release from March 2014).
          28.     Around the summer of 2016, Mr. Gubarev gave comments to a reporter from
   Bloomberg to promote Servers.com about a project hosted by Servers.com called Prisma.
   Gubarev Depo. I, Exhibit 12, 257:22-24; 258:9-10; Transcript of the Deposition of Aleksej
   Gubarev dated May 16, 2018 [“Gubarev Depo. II”], Exhibit 42 hereto, 11:2-14; Declaration of
   Leonid Bershidsky [“Bershidsky Decl.”], filed herewith, ¶ 4.
          29.     Following Mr. Gubarev’s comments to Bloomberg to promote Servers.com, on
   November 1, 2016 the reporter email Mr. Gubarev “out of the blue” and without prompting to
   ask Mr. Gubarev to give a technical opinion regarding allegations made about a relationship
   between Alfa Bank servers and computers associated with Donald Trump published in another
   publication, Slate. Gubarev Depo. I, Exhibit 12, 257:25-259:19; Gubarev Depo. II, Exhibit 42,
   10:5-13, and Exhibit 3 thereto attached as Exhibit 43 (emails between Leonid Bershidsky and
   Mr. Gubarev) (a translation of this email thread and additional emails that followed is also
   attached as Exhibit 44); Gubarev Decl., ¶ 10; Bershidsky Decl., ¶ 3. Prior to this contact, Mr.
   Gubarev had not commented publicly on any topic even remotely connected to Donald Trump or
   any alleged connections between Mr. Trump (or the Trump Organization) and Russia (or Alfa
   Bank). Gubarev Decl., ¶ 11.
          30.     When Mr. Gubarev provided comments to Mr. Bershidsky, he did not consider
   the request to be political in nature, but, as Mr. Bershidsky specified, a technical question posed
   to Mr. Gubarev by a journalist who knew Mr. Gubarev headed Servers.com. Gubarev Decl., ¶
   12. This is in fact exactly what Mr. Bershidsky asked Mr. Gubarev. See Exhibit 44 (“Could you
   help me sort out technical details of what is described here?”).
          31.     Mr. Gubarev then asked an internal XBT technical expert to create a report
   responding to some statements made in the Slate article (because Mr. Gubarev did not himself
   have expertise on the issues) that Mr. Gubarev then forwarded to the Bloomberg reporter.
   Gubarev Depo. I, Exhibit 12, 261:3-262:12; Gubarev Depo. II, Exhibit 42, 13:6-17, 15:15-16:11.



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   Even in this instance, Mr. Gubarev was using the opportunity to try to get coverage for his new
   business venture Haxus. Gubarev Depo. II, Exhibit 42, 35:20-37:18.
          32.     Mr. Bershidsky has confirmed that he reached out to Mr. Gubarev for technical
   comments because he knew of him after reporting a previous story unrelated to the election.
   Bershidsky Decl., ¶ 5 (“I did not seek from Mr. Gubarev (nor did he offer) any opinion
   concerning the political ramifications of my story.”).
          33.     The reference to Mr. Gubarev in the Bloomberg article was extremely limited and
   limited only to a single technical issue. See Exhibit 6 (Bloomberg article); Bershidsky Decl., ¶ 5.
   In total, the article says the following in relation to Mr. Gubarev:
          Another troubling aspect of the Foer article is that it’s doubtful the server logs could
          be legally obtained. Alexey Gubarev, chief executive officer of Luxembourg-
          registered XBT Holding, which owns the infrastructure as-a-service provider
          Servers.com, told me there was no legitimate way to get access to the full logs of a
          server that you do not control. That raises the request of whether the records
          obtained by Foer’s “Concerned Nerds” were complete.

          34.     The Bloomberg article does not make any reference whatsoever to the Democratic
   National Committee or the hacking of the same. See Exhibit 6.
          35.     The Dossier as a whole (including the December memo and the portion of the
   December memo that discusses the Plaintiffs) makes no mention of a Trump Organization server
   communicating with an Alfa Bank server. See, generally, Exhibit 11 (Dossier) and Exhibit 45
   (Buzzfeed article that included Dossier).
          36.




          37.




          38.




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        39.




        40.


        41.




        42.




        43.




        44.




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   Dated: September 17, 2018

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